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AO 468 (Rev. 04/15) Waiver of a Preliminary Hearing


                                       UNITED STATES DISTRICT COURT
                                                                    for the
                                                            District
                                                      __________     of Columbia
                                                                  District of __________

                   United States of America                            )
                                  v.                                   )
                     Henos Woldemichael                                )     Case No. 22-206-M
                                                                       )
                             Defendant                                 )

                                               WAIVER OF A PRELIMINARY HEARING

        I understand that I have been charged with an offense in a criminal complaint filed in this court, or charged with
violating the terms of probation or supervised release in a petition filed in this court. A magistrate judge has informed
me of my right to a preliminary hearing under Fed. R. Crim. P. 5.1, or to a preliminary hearing under Fed. R. Crim. P.
32.1.

          I agree to waive my right to a preliminary hearing under Fed. R. Crim. P. 5.1 or Fed. R. Crim. P. 32.1.



Date:        11/23/2022
                                                                                            Defendant’s signature



                                                                                      Signature of defendant’s attorney


                                                                                 Kathryn D'Adamo, Bar No. 1033002
                                                                             Printed name and bar number of defendant’s attorney
                                                                                Office of the Federal Defender for DC
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                                                                                       Washington, DC 20004

                                                                                       Address of defendant’s attorney

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